                                                            (SPACE BELOW FOR FILING STAMP ONLY)
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 8                               UNITED STATES DISTRICT COURT
 9                             EASTERN DISTRICT OF CALIFORNIA
10                                        * * * * * * * *
11   UNITED STATES OF AMERICA,                       Case No.: CRF-04-5356-AWI
12                 Plaintiff,                        DEFENDANT, JASPREET SINGH’S,
                                                          APPLICATION FOR ORDER
13           vs.                                       EXONERATING APPEARANCE AND
                                                     COMPLIANCE BOND AND RETURN OF
14   JASPREET SINGH, et al.,                           PASSPORT AND ORDER THEREON
15                 Defendants.
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18           Defendant, JASPREET SINGH, by and through his attorney of
19   record, RICHARD P. BERMAN, hereby moves the Court for an order
20   exonerating the unsecured appearance and compliance bond in the
21   above-captioned case.
22           On December 8, 2004, the Magistrate Court ordered JASPREET
23   SINGH released from custody under conditions of Pretrial Services
24   supervision and a $5,000.00 unsecured appearance and compliance
25   bond.
26           On July 21, 2008, Defendant, JASPREET SINGH, appeared before
27   this Court for sentencing.             He was sentenced to three months
28   imprisonment beginning on September 18, 2008.                   Upon release from


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 1   imprisonment, Defendant shall be on 24 months of supervised
 2   release.
 3        As Defendant, JASPREET SINGH, has already served his time in
 4   custody, he hereby requests that this Honorable Court exonerate
 5   the unsecured appearance and compliance bond previously set by
 6   the Magistrate Court and return his passport to his counsel,
 7   Richard P. Berman.
 8        Dated: March 20, 2009.         Respectfully submitted,
 9                                       LAW OFFICE OF RICHARD P. BERMAN
10
11                                       By /s/ RICHARD P. BERMAN
                                            RICHARD P. BERMAN
12                                          Attorney for Defendant,
                                            JASPREET SINGH
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15                                     ORDER
16        Good cause appearing therefor,
17        IT IS HEREBY ORDERED that the appearance and compliance bond
18   for $5,000.00 be exonerated and Defendant’s passport be returned
19   to counsel, Richard P. Berman, forthwith.
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21   IT IS SO ORDERED.
22   Dated:   March 23, 2009                 /s/ Anthony W. Ishii
     0m8i78                         CHIEF UNITED STATES DISTRICT JUDGE
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